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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

MICHAEL LEACOCK,                                *

       Plaintiff,                               *

v.                                              *           Civ. No. DLB-22-1306

IONQ, INC., et al.,                             *

       Defendants.                              *

                                            ORDER

       For the reasons stated in the memorandum opinion issued this same date, it is this 28th day

of September, 2023 hereby ORDERED that:

       1.     The motion to dismiss of defendants IonQ, Inc., Peter Chapman, and Thomas

              Kramer, ECF 75, is GRANTED, and the plaintiffs’ claims against them are

              DISMISSED with prejudice;

       2.     The motion to dismiss of defendants Niccolo De Masi, Harry You, Darla Anderson,

              Francesca Luthi, and Charles E. Wert, ECF 77, is GRANTED and the plaintiffs’

              claims against them are DISMISSED with prejudice; and,

       3.     The Clerk SHALL CLOSE this case.




                                                            Deborah L. Boardman
                                                            United States District Judge
